 Case 3:21-cv-01459-NJR Document 3 Filed 11/19/21 Page 1 of 4 Page ID #7




               UNITED STATES DISTRICT COURT
                              For the Southern District of Illinois

                                                    )
               Plaintiff(s)                         )
                   v.                               )     Case Number:
                                                    )
               Defendant(s)                         )


                         MOTION AND AFFIDAVIT TO PROCEED
                                IN DISTRICT COURT
                         WITHOUT PREPAYING FEES OR COSTS
        I am a plaintiff or petitioner in this case and declare that I am unable to pay the costs of
these proceedings and that I am entitled to the relief requested.

        In support of this motion, I answer the following questions under penalty of perjury:

        1. If incarcerated:
           A. I am being held at:                                                                      .
              I have attached to this document a statement certified by the appropriate
              institutional officer showing all receipts, expenditures, and balances
              during the last six months for any institutional account in my name. I am
              also submitting a similar statement from any other institution where I
              was incarcerated during the last six months. NOTE: You must have an
              authorized institutional officer complete the last page of this form.

            B. I declare one of the following:
              __ I have NOT had 3 or more civil actions dismissed as being frivolous, malicious, or for
              failure to state a claim and/or received 3 or more “strikes” under 28 U.S.C. § 1915(g).

               __ I am proceeding under 28 U.S.C. § 1915(g), based on my claim that I am in imminent
               danger of serious physical injury.

        2 . If not incarcerated:
            A. Are you                  0   Yes                  0   No   employed?

            B. If employed, my employer’s name and address are:




            C. My gross pay or wages are: $                 , and my take-home pay or wages are:
               $                                     per (specify pay period)                 .




                                                     1
 Case 3:21-cv-01459-NJR Document 3 Filed 11/19/21 Page 2 of 4 Page ID #8



        3. Other Income. In the past 12 months, I have received income from the following sources
        (check all that apply):

             (a) Business, profession, or other                 0   Yes                 0   No
             selfemployment
             (b) Rent payments, interest, or dividends          0   Yes                 0   No
             (c) Pension, annuity, or life insurance payments   0   Yes                 0   No
             (d) Disability or worker’s compensation            0   Yes                 0   No
             payments
             (e) Gifts or inheritances                          0   Yes                 0   No
             (f) Any other sources                              0   Yes                 0   No


        If you answered “Yes” to any question above, describe below or on separate pages each
source of money and state the amount that you received and what you expect to receive in the future.




                                                   2
              Case 3:21-cv-01459-NJR Document 3 Filed 11/19/21 Page 3 of 4 Page ID #9



          4. Amount of money that I have in cash or in a checking or savings account:                                           .

          5. Any automobile, real estate, stock, bond, security, trust, jewelry, art work, or other financial instrument or
             thing of value that I own, including any item of value held in someone else’s name (describe the property and its
             approximate value):




          6. Any housing, transportation, utilities, or loan payments, or other regular monthly expenses (describe and provide
             the amount of the monthly expense):




          7. Names (or, if under 18, initials only) of all persons who are dependent on me for support, my relationship
             with each person, and how much I contribute to their support:




          8. Any debts or financial obligations (describe the amounts owed and to whom they are payable):




          DECLARATION: I declare under penalty of perjury that the above information is true. I
          understand that a false statement may result in a dismissal of my claims.


Date:
                                                                                                           Movant’s signature



                                                                                                              Printed name



AO 240 (Rev. 06/09) Motion to Proceed in District Court Without Prepaying Fees or Costs (Short Form) MODIFIED SDIL (7/2018)

                                                                           3
  Case 3:21-cv-01459-NJR Document 3 Filed 11/19/21 Page 4 of 4 Page ID #10




                                      CERTIFICATION
              (TO BE COMPLETED BY AN AUTHORIZED INSTITUTIONAL OFFICER)


Plaintiff/Petitioner:

Institution:

Register Number:



         I,                                                                , hereby certify that the
                   (Name and Title of Authorized Officer - please print)

inmate identified above currently has the sum of $                    on account at

                                                                 .
                 (Institution where confined)


                                                       Signature of Authorized Officer

Dated:




                         PURSUANT TO 28 U.S.C. § 1915(a)(2), PLEASE
                         ATTACH A COPY OF THE INMATE’S TRUST
                              FUND ACCOUNT STATEMENT
                              FOR THE PAST SIX MONTHS.




                        Please mail the statement and this completed form to:
                                             Clerk of Court
                                      United States District Court
                                      Southern District of Illinois
                                           750 Missouri Ave.
                                        East St. Louis, IL 62201



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